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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

NORTEL NETWORKS INC., et ai.!

Debtors.

SNMP RESEARCH INTERNATIONAL INC.

and

SNMP RESEARCH, INC.,
Plaintiffs,

Vv.

NORTEL NETWORKS INC., et al.,
NORTEL NETWORKS CORPORATION,
NORTEL NETWORKS LIMITED, NORTEL
NETWORKS GLOBAL CORPORATION,
NORTEL NETWORKS INTERNATIONAL
CORPORATION, NORTEL NETWORKS
TECHNOLOGY CORPORATION,
GENBAND US LLC, GENBAND, INC.,
PERFORMANCE TECHNOLOGIES, INC.,
PERFTECH (PTI) CANADA, AVAYA INC.,
RADWARE LTD.,

and
JOHN DOE DEFENDANTS 1-100,

Defendants.

Nemo! Nee” “eee” Niner” “remem” Seem” “eee Semen” Same” “me” Nero” Sioagee” Newemne Seer” Neer” Set” Seeger” ener! See” Somme “et eae Smee” Smapee! “mage! Seager Samuel! Soemeet! Senet! neat! Sagat! agg! “emt! “want! eae!

Chapter 11
Case No. 09-10138 (KG)

Jointly Administered

Adv. Proc. No. 11-53454 (KG)

AVAYA INC.’S CORPORATE DISCLOSURE STATEMENT

' The U.S. Debtors in these chapter 11 cases, along with the last four digits of each U.S. Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable

Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).

Docket No.

March 2, 2012
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Pursuant to Bankruptcy Rule 7007.1, defendant Avaya Inc. states that it is a
privately held company owned by affiliates of TPG Capital, L.P. and Silver Lake Partners, L.P.
and by members of management.

/s/ Michael J. Custer

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And

Dated: March 2, 2012

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